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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                             GAINESVILLE DIVISION


UNITED STATES OF AMERICA

v.                                                          CASE NO. 1:06-cr-00027-MP-AK

BRANDON KING CAMPBELL,

      Defendant.
________________________________/

                                          ORDER

       This matter is before the Court on Doc. 105, Motion to Continue Sentencing, filed by

Defendant Campbell. Defendant requests a continuance of his sentencing hearing, which is

currently scheduled for January 17, 2007, at 1:30 p.m. Because Defendant is currently

cooperating with the Government pursuant to his Plea Agreement, he requests the continuance so

that the Government may evaluate his on-going assistance prior to sentencing. The Government

does not object to Defendant’s motion. After considering the matter, the motion is granted.

Accordingly, the sentencing hearing of Defendant Campbell is hereby rescheduled for

Wednesday, March 28, 2007, at 10:00 a.m.


       DONE AND ORDERED this            5th day of January, 2007


                                      s/Maurice M. Paul
                                Maurice M. Paul, Senior District Judge
